

Matter of Bhat (2018 NY Slip Op 03419)





Matter of Bhat


2018 NY Slip Op 03419


Decided on May 10, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 10, 2018


[*1]In the Matter of SHAM JAYANT BHAT, an Attorney. (Attorney Registration No. 2082394)

Calendar Date: May 7, 2018

Before: McCarthy, J.P., Egan Jr., Lynch, Aarons and

	 Pritzker, JJ.

Sham Jayant Bhat, Silver Spring, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Sham Jayant Bhat was admitted to practice by this Court in 1986 and lists a business address in Burtonsville, Maryland with the Office of Court Administration. Bhat now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a])[FN1]. The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Bhat's application.
Upon reading Bhat's affidavit sworn to April 12, 2018 and filed April 16, 2018, and upon reading the May 4, 2018
correspondence in response by the Chief Attorney for AGC, and having determined that Bhat is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
McCarthy, J.P., Egan Jr., Lynch, Aarons and Pritzker, JJ., concur.
ORDERED that Sham Jayant Bhat's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Sham Jayant Bhat's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Sham Jayant Bhat is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Bhat is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Sham Jayant Bhat shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.



Footnotes

Footnote 1: Bhat's previous application for leave to resign was denied by order of this Court (154 AD3d 1221 [2017]).






